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                       UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA                 :

                                          :        CRIMINAL NO. 3:16-143
    v.
                                          :          (JUDGE MANNION)
 LOUIS ELMY,
                                          :
                  Defendant
                                          :


                                      ORDER

         Based on the court’s memorandum issued this same day, IT IS

HEREBY ORDERED THAT:

    (1) To the extent defendant Elmy’s motion is one for compassionate
         release, (Doc. 57), it is DISMISSED WITHOUT PREJUDICE for lack
         of jurisdiction since he has failed to comply with §3582(c)(1)(A)’s
         exhaustion requirement.
    (2) To the extent defendant Elmy’s motion, (Doc. 57), can be alternatively
         construed as a motion for immediate release to home confinement
         under the CARES Act, it is DISMISSED since the court lacks authority
         to grant such relief under the Act.


                                              s/ Malachy   E. Mannion
                                              MALACHY E. MANNION
                                              United States District Judge
DATE: August 3, 2020
16-143-02-Order
